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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

  WESTFIELD INSURANCE COMPANY,                         )
                                                       )
                Plaintiff/Counter Defendant,           )
                                                       )
          vs.                                          )
                                                       )
  BELL AQUACULTURE, LLC and                            )
  TCFI BELL SPE III, LLC,                              )
                                                       )      Case No. 1:16-cv-02269-TWP-MJD
                Defendants/Counter-Plaintiff,          )
                                                       )
         vs.                                           )
                                                       )
  EARLY, CASSIDY & SCHILLING, INC.,                    )
                                                       )
                Third-Party Defendant.                 )

       WESTFIELD’S MOTION FOR PARTIAL SUMMARY JUDGMENT AGAINST
              BELL’S BAD FAITH AND PUNITIVE DAMAGE CLAIMS

         NOW       COMES       Plaintiff/Counter-Defendant,    Westfield   Insurance    Company

  (“Westfield”), by counsel, and pursuant to the Case Management Plan, Orders amending same and

  Federal Rule of Civil Procedure 56, hereby respectfully moves this Honorable Court for entry of

  partial summary judgment in its favor and against Defendant/Counter-Plaintiff, Bell Aquaculture,

  LLC (“Bell”), on Count III of Bell’s Counterclaim for breach of the duty of good faith and fair

  dealing which seeks bad faith and punitive damages. In support of this motion for summary

  judgment, Westfield states as follows:

         1.     In this insurance coverage lawsuit, Westfield and Bell dispute whether Bell has

  valid claims for alleged property damage and claimed business income under the commercial

  package insurance policy Westfield issued to Bell.




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         2.      In Count III of its Counterclaim, Bell plead a claim for breach of the implied duty

  of good faith and fair dealing, which seeks bad faith and punitive damages.

         3.      By this motion, Westfield respectfully requests that this Honorable Court grant

  Westfield judgment on the pleadings and/or summary judgment on Bell’s Count III.

         4.      As will be demonstrated in the accompanying brief and submission of summary

  judgment evidence, Westfield promptly and fairly investigated Bell’s claims, retained consultants

  to assist with the investigation and adjustment of the claims, regularly communicated with and

  otherwise kept Bell advised of its investigation and the insurance coverage issues implicated by

  Bell’s claims, and advance paid $1,000,000 to Bell within ninety (90) days of the ATS failure for

  its building and business income/expense claims.

         5.      The record will also amply demonstrate that after Bell provided additional

  information and documents that were requested and necessary to Westfield’s ongoing investigation

  and assessment of the insurance coverage issues, Westfield prepared and issued its coverage

  position to Bell detailing therein the investigation efforts Westfield undertook to reach its position,

  summarizing the facts it understood to be material to the coverage issues implicated by the claims,

  and explaining its response to the claims and the basis for its positions that: (1) Bell’s fish loss

  was not covered by the insurance policy; (2) Bell had not demonstrated a compensable business

  income loss; and (3) Bell had not demonstrated that any additional funds were owing on its

  building and extra expense claims.

         6.      Unquestionably, Bell bears the burden of proving, and not merely alleging, a basis

  for its Count III bad faith and punitive damages claims by clear and convincing evidence

  demonstrating that Westfield breached the duty of good faith and fair dealing vis-a-vis Bell.




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         7.       Here, however, Bell cannot meet its burden of proving Westfield failed to properly

  investigate the claim, or that the results of Westfield’s investigation did not provide a rational,

  principled basis for its coverage position. To be sure, the evidence in this case establishes as a

  matter of law that there simply is no genuine issue as to any material fact with regard to the issues

  addressed in this motion and that Westfield is entitled to a judgment as a matter of law on Count

  III of Bell’s Counterclaim because:

              •   Bell failed to plead its bad faith and punitive damage claims with requisite
                  specificity; and

              •   Westfield had a good faith dispute concerning:

                  •   Whether Bell’s fish were covered by the insurance policy;

                  •   Whether Bell demonstrated a compensable business income loss; and

                  •   Whether Bell demonstrated that any additional funds were owing on Bell’s
                      building and extra expense claims.

         8.       Accordingly, Westfield requests that this Court grant this motion and enter a final

  judgment in favor of Westfield and against Bell on Count III of Bell’s Counterclaim.

         WHEREFORE, for all of the foregoing reasons, and those set forth in the accompanying

  Memorandum of Law and Affidavits and other record evidence having been either previously filed

  of record or being contemporaneously filed herewith, Westfield prays that this Honorable Court

  grant this motion and enter an Order granting partial summary judgment in favor of Westfield and

  against Bell on Count III of Bell’s Counterclaim, and awarding costs and such further relief as the

  Court deems just and proper.




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  Dated: March 30, 2018              Respectfully submitted,

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                           CERTIFICATE OF FILING AND SERVICE

          I hereby certify that on March 30, 2018, a copy of the foregoing, “Westfield’s Motion for
  Partial Summary Judgment against Bell’s bad faith and punitive damages claims,” was filed
  electronically utilizing the Court’s electronic filing system. Notice of this filing will be sent to the
  following parties by operation of the Court’s electronic filing system. Parties may access this filing
  through the Court’s system.

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